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 1 Majers”); and Defendant Irma T. Majers-Castillero, as
 2 an individual and as trustee of the Michael A. Majers
 3 and Irma T. Majers-Castillero Family Trust (“Defendant
 4 Majers-Castillero”) (collectively, “Defendants”).
 5 Having reviewed all papers submitted pertaining to this
 6 Application, the Court NOW FINDS AND RULES AS FOLLOWS:
 7 the Court DENIES Plaintiff’s Application.
 8                              I. BACKGROUND
 9 A.     Factual Background
10        Plaintiff is a California resident who is
11 paraplegic and uses a wheelchair for mobility.                  Compl.
12 ¶ 1, ECF No. 1.        Defendants owned and own the real
13 property located at 260 S. Meyer Street, San Fernando,
14 CA 91340, (the “Property”).1             Id. ¶¶ 2–3.     Plaintiff
15 visited the Property on March 9, 2020 for the purposes
16 of doing laundry and to check its compliance with
17 disability access laws.           Id. ¶ 8.     Once there,
18 Plaintiff observed that despite having parking spaces
19 available, there were no designated parking spaces for
20 persons with disabilities that complied with the 2012
21 Americans with Disabilities Act Accessibility
22 Guidelines (“ADAAG”).          Id. ¶ 10-11.       Specifically,
23 Plaintiff states that “Defendants have: a built up curb
24 ramp that projects from the sidewalk and into the
25
26        1
            Plaintiff does not know whether Defendants also own the
     coin laundry business located on the Property. Compl. ¶ 4.
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 1 access aisle (Section 406.5).             Furthermore, the curb
 2 ramp is in excess of the maximum grade allowed by
 3 [Americans with Disabilities Accessibility Guidelines]
 4 specifications (Section 406.1); and ground surfaces in
 5 the access aisle are broken and irregular (Section
 6 502.4).”      Id. ¶ 12.     Plaintiff personally encountered
 7 the barriers related to the accessible parking.                   Id. ¶
 8 12; Decl. of Anthony Bouyer in Supp. of Appl. (“Bouyer
 9 Decl.”) ¶¶ 5-6, ECF No. 21-4.             Plaintiff claims that he
10 intends to return to the Property but is currently
11 deterred by these architectural barriers.                 Bouyer Decl.
12 ¶¶ 8-9; Compl. ¶ 19.
13 B.    Procedural Background
14       Plaintiff filed his Complaint [1] against
15 Defendants on March 27, 2020, alleging violations of
16 the ADA and Unruh Act.          On March 31, 2020, the Court
17 issued an Order to Show Cause requiring Plaintiff to
18 show cause in writing why the Court should exercise
19 supplemental jurisdiction over his Unruh Act claim [9].
20 See Order to Show Cause re Supplemental Jurisdiction
21 (“Jurisdiction OSC”), ECF No. 9.              Ultimately, after
22 considering Plaintiff’s Response [10], the Court
23 declined to exercise supplemental jurisdiction over
24 Plaintiff’s Unruh Act claim.             See Order re Pl.’s Resp.
25 to Jurisdiction OSC, ECF No. 17.
26       On April 9, 2020, Plaintiff served Defendant Majers
27 by substituted service [11] and Defendant Majers-
28 Castillero by personal service [12].               To this date,
                                        3
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 1 Defendants have not pleaded, answered, or otherwise
 2 appeared in this Action.           The Clerk entered default
 3 against Defendant Majers-Castillero on May 12, 2020
 4 [16] and Defendant Majers on June 22, 2020 [20].
 5       Plaintiff filed the present Application [21] on
 6 July 1, 2020 and timely served Defendants [21-81].
 7 Plaintiff seeks an order enjoining Defendants to
 8 provide the following: (1) accessible parking; and (2)
 9 accessible paths of travel.              Mem. P. &. A. in Supp. of
10 Appl. (“Mem.”) 10:6-8, ECF 21-1.              Plaintiff also
11 requests an award of $4,644.00 in attorneys’ fees, and
12 costs.     Appl. 2:23-24, ECF No. 21.
13                             II. DISCUSSION
14 A.    Legal Standard
15       Federal Rule of Civil Procedure (“Rule”) 55(b)
16 authorizes a district court to grant default judgment.
17 Pursuant to Local Rule 55-1, the party moving for
18 default judgment must submit a declaration
19 establishing: (1) when and against which party default
20 was entered; (2) on which pleading default was entered;
21 (3) whether the defaulting party is a minor,
22 incompetent person, or active service member; and
23 (4) proper service.         Upon default, all factual
24 allegations in the complaint, except those relating to
25 damages, are assumed to be true.              TeleVideo Sys., Inc.
26 v. Heidenthal, 826 F.2d 915, 917-18 (9th Cir. 1987)
27 (quoting Geddes v. United Fin. Grp., 559 F.2d 557, 560
28 (9th Cir. 1977)).
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 1       In exercising its discretion to grant default
 2 judgment, the court must consider the following
 3 factors: (1) possibility of prejudice to the plaintiff,
 4 (2) merits of the substantive claim, (3) sufficiency of
 5 the complaint, (4) sum of money at stake,
 6 (5) possibility of disputes regarding material facts,
 7 (6) whether excusable neglect caused the default, and
 8 (7) the strong policy favoring decisions on the merits.
 9 NewGen, LLC v. Safe Cig, LLC, 840 F.3d 606, 616 (9th
10 Cir. 2016) (quoting Eitel v. McCool, 782 F.2d 1470,
11 1471-72 (9th Cir. 1986)).           Additionally, if the
12 defaulting party failed to plead or otherwise defend,
13 the court must determine that it has subject matter and
14 personal jurisdiction.          In re Tuli, 172 F.3d 707, 712
15 (9th Cir. 1999).        When default judgment is granted, the
16 relief awarded “must not differ in kind from, or exceed
17 in amount, what is demanded in the pleadings.”                  Fed. R.
18 Civ. P. 54(c).
19 B.    Discussion
20       1.    Jurisdiction and Service of Process
21       The Court has subject matter jurisdiction under 28
22 U.S.C. §§ 1331 and 1343 for violations of the ADA.
23 See, e.g., Civil Rights Educ. & Enf’t Ctr. v. Hosp.
24 Props. Tr., 867 F.3d 1093, 1098 (9th Cir. 2017).
25       The Court also has personal jurisdiction over
26 Defendants because they had “certain minimum contacts”
27 with California such that “the suit does not offend
28 ‘traditional notions of fair play and substantial
                                        5
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 1 justice.’”      Calder v. Jones, 465 U.S. 783, 788 (1984)
 2 (quotation omitted).          Specifically Defendants owned and
 3 own the real property in California giving rise to this
 4 Action.     Compl. ¶¶ 2-3; Ex. 4, Public Records, ECF No.
 5 21-6.
 6       Additionally, Plaintiff properly served Defendants
 7 under Rule 4.       See Direct Mail Specialists, Inc. v.
 8 Eclat Computerized Techs., Inc., 840 F.2d 685, 688 (9th
 9 Cir. 1988) (“A federal court does not have jurisdiction
10 over a defendant unless the defendant has been served
11 properly under [Rule] 4.”) (citation omitted).                  Service
12 of process is governed by Rule 4, which permits service
13 on an individual that complies with “state law for
14 serving a summons in an action brought in courts of
15 general jurisdiction in the state where the district
16 court is located or where service is made.”                 Fed. R.
17 Civ. P. 4(e)(1).        In California, the summons and
18 complaint may be served by personal service or
19 substituted service.          Cal. Civ. Proc. Code § 415.20(b).
20 If an individual is served by substituted service,
21 California thereafter requires that a copy of the
22 summons and complaint be mailed to the individual.                    Id.
23       Here, Plaintiff served Defendant Majers with the
24 summons and Complaint by substituted service on April
25 9, 2020.      See Majers Proof of Service, ECF No. 11.
26 Plaintiff thereafter mailed Defendant Majers a copy of
27 these documents on April 10, 2020.              Id.    Also on April
28 9, 2020, Plaintiff served Defendant Majers-Castillero
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 1 with the summons and Complaint by personal service.
 2 See Majers-Castillero Proof of Service, ECF No. 12.                    As
 3 such, service of process on Defendants was proper and
 4 complete.
 5       2.    Local Rule 55-1
 6       As mentioned above, Central District Local Rule 55-
 7 1 requires an application for default judgment:
 8       be accompanied by a declaration in compliant
         with F.R. Civ. P. 55(b)(1) and/or (2) and
 9       include the following:
              (a) When and against what party the
10                default was entered;
              (b) The identification of the pleading to
11                which default was entered;
              (c) Whether the defaulting party is an
12                infant or incompetent person, and if
                  so, whether that person is represented
13                by a general guardian, committee,
                  conservator or other representatives;
14            (d) That the Servicemembers Civil Relief
                  Act (50 U.S.C. App. § 521) does not
15                apply; and
              (e) That notice has been served on the
16                defaulting party, if required by F.R.
                  Civ. P. 55(b)(2).
17   C.D. Cal. L.R. 55-1.
18       Here, Plaintiff’s counsel submitted a declaration
19 in support of the instant Application.                See Decl. of
20 Joseph Manning in Supp. of Appl. (“Manning Decl.”), ECF
21 No. 21-3.      While his declaration identifies when and
22 against which party default was entered, it fails to
23 address whether Defendants are infants, incompetent
24 persons, or that the Servicemembers Civil Relief Act
25 does not apply.        Despite Plaintiff’s Application
26 stating “[a]s detailed in the Declaration of
27 Plaintiff’s counsel, Defendant is neither an infant nor
28 incompetent person nor in military service or otherwise
                                        7
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 1 exempted,” Mem. 2:19-22, Plaintiff’s counsel’s
 2 declaration is void of any reference to these points.
 3 Because Plaintiff has failed to satisfy the procedural
 4 requirements of Local Rule 55-1, the Court need not
 5 address the underlying merits of Plaintiff’s
 6 Application.       Therefore, the Court DENIES Plaintiff’s
 7 Application.
 8                            III. CONCLUSION
 9       Based on the foregoing, the Court DENIES
10 Plaintiff’s Application for Default Judgment.
11
12 IT IS SO ORDERED.
13
14 DATED: September 21, 2020                  /s/ Ronald S.W. Lew
15                                          HONORABLE RONALD S.W. LEW
                                            Senior U.S. District Judge
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